     Case 3:18-cv-02560-DMS-LL Document 13 Filed 06/01/21 PageID.3950 Page 1 of 2




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 8                              UNITED STATES DISTRICT COURT
 9                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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11     JUDY A. BRITT,                        CASE NO.: 3:18-cv-02560-DMS-LL
12
                   Plaintiff,                ORDER GRANTING DEFENDANTS
13                                           C. R. BARD, INC. AND BARD
       v.                                    PERIPHERAL VASCULAR, INC.’S
14
                                             MOTION FOR SUBSTITUTION OF
15     C. R. BARD, INC., and BARD
                                             COUNSEL OF RECORD
       PERIPHERAL VASCULAR INC.
16     and DOES 1-10,                        Complaint Filed: November 8, 2018
17
                   Defendants.
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                                                     CASE NO. 3:18-cv-02560-DMS-LL
28                                           1
            ORDER GRANTING DEFENDANTS C. R. BARD, INC. AND BARD PERIPHERAL
            VASCULAR, INC.’S MOTION FOR SUBSTITUTION OF COUNSEL OF RECORD
     Case 3:18-cv-02560-DMS-LL Document 13 Filed 06/01/21 PageID.3951 Page 2 of 2



 1         The Court hereby orders that the request of Defendants C. R. Bard, Inc. and Bard
 2 Peripheral Vascular, Inc. to substitute Tyler R. Andrews, Esq. and Syed I. Ishrak, Esq. of
 3 Greenberg Traurig, LLP, who are retained counsel as the attorneys of record in place of
 4 Richard B. North, Esq. of Nelson Mullins Riley & Scarborough, LLP is GRANTED.
 5         The clerk is hereby ordered to terminate Notices of Electronic Filing for the
 6 withdrawing attorney in this case.
 7         IT IS SO ORDERED.
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     Dated: June 1, 2021

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28                                                      CASE NO. 3:18-cv-02560-DMS-LL
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          ORDER GRANTING DEFENDANTS C. R. BARD, INC. AND BARD PERIPHERAL
          VASCULAR, INC.’S MOTION FOR SUBSTITUTION OF COUNSEL OF RECORD
